USCA4 Appeal: 24-2045         Doc: 64         Filed: 10/29/2024   Pg: 1 of 40




                                                 PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                  No. 24-2044


        REPUBLICAN   NATIONAL                    COMMITTEE;       NORTH         CAROLINA
        REPUBLICAN PARTY,

                                Plaintiffs – Appellees,

                        v.

        NORTH CAROLINA STATE BOARD OF ELECTIONS; KAREN BRINSON
        BELL, in her official capacity as Executive Director of the North Carolina State
        Board of Elections; ALAN HIRSCH, in his official capacity as Chair of the North
        Carolina State Board of Elections; JEFF CARMON, in his official capacity as
        Secretary of the North Carolina State Board of Elections; STACY EGGERS, IV, in
        their official capacities as Members of the North Carolina State Board of Elections;
        KEVIN N. LEWIS, in their official capacities as Members of the North Carolina
        State Board of Elections; SIOBHAN O’DUFFY MILLEN, in their official
        capacities as Members of the North Carolina State Board of Elections,

                                Defendants – Appellants,

                        and

        DEMOCRATIC NATIONAL COMMITTEE,

                                Intervenor/Defendant.

        ------------------------------

        JACKSON SAILOR JONES; BERTHA LEVERETTE; NORTH CAROLINA
        STATE CONFERENCE OF THE NAACP,

                                Amici Supporting Appellant.
USCA4 Appeal: 24-2045       Doc: 64        Filed: 10/29/2024     Pg: 2 of 40




                                               No. 24-2045


        REPUBLICAN   NATIONAL                 COMMITTEE;         NORTH         CAROLINA
        REPUBLICAN PARTY,

                             Plaintiffs – Appellees,

                      v.

        DEMOCRATIC NATIONAL COMMITTEE,

                             Intervenor/Defendant – Appellant,

                      and

        NORTH CAROLINA STATE BOARD OF ELECTIONS; KAREN BRINSON
        BELL, in her official capacity as Executive Director of the North Carolina State
        Board of Elections; ALAN HIRSCH, in his official capacity as Chair of the North
        Carolina State Board of Elections; JEFF CARMON, in his official capacity as
        Secretary of the North Carolina State Board of Elections; STACY EGGERS, IV, in
        their official capacities as Members of the North Carolina State Board of Elections;
        KEVIN N. LEWIS, in their official capacities as Members of the North Carolina
        State Board of Elections; SIOBHAN O’DUFFY MILLEN, in their official
        capacities as Members of the North Carolina State Board of Elections,

                             Defendants.


        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Raleigh. Richard E. Myers, Chief District Judge. (5:24-cv-00547-M-RJ)


        Argued: October 28, 2024                                      Decided: October 29, 2024


        Before DIAZ, Chief Judge, GREGORY and BERNER, Circuit Judges.


        Reversed and remanded by published opinion. Judge Berner wrote the opinion, in which
        Chief Judge Diaz and Judge Gregory joined. Chief Judge Diaz wrote a concurring opinion.


                                                       2
USCA4 Appeal: 24-2045     Doc: 64        Filed: 10/29/2024     Pg: 3 of 40




        ARGUED: Sarah Gardner Boyce, NORTH CAROLINA DEPARTMENT OF JUSTICE,
        Raleigh, North Carolina; Seth Paul Waxman, WILMERHALE LLP, Washington, D.C., for
        Appellants. Phillip John Strach, NELSON MULLINS RILEY & SCARBOROUGH, LLP,
        Raleigh, North Carolina, for Appellees. ON BRIEF: Jim W. Phillips, Jr., Shana L. Fulton,
        Eric M. David, William A. Robertson, James W. Whalen, BROOKS, PIERCE,
        MCLENDON HUMPHREY & LEONARD, LLP, Raleigh, North Carolina; Daniel S.
        Volchok, Christopher E. Babbitt, Gary M. Fox, Joseph M. Meyer, Jane E. Kessner, Nitisha
        Baronia, WILMER CUTLER PICKERING HALE & DORR LLP, Washington, D.C., for
        Appellant Democratic National Committee. Sripriya Narasimhan, Deputy General
        Counsel, Mary Carla Babb, Terence Steed, Special Deputy Attorney General, South A.
        Moore, Deputy General Counsel, Marc D. Brunton, General Counsel Fellow, NORTH
        CAROLINA DEPARTMENT OF JUSTICE, for Appellants North Carolina State Board of
        Elections; Karen Brinson Bell; Alan Hirsch; Jeff Carmon; Stacy Eggers, IV; Kevin Lewis;
        and Siobhan O’Duffy Millen. Jordan A. Koonts, NELSON MULLINS RILEY &
        SCARBOROUGH LLP, Raleigh, North Carolina, for Appellees. Jeffrey Loperfido, Hilary
        H. Klein, Christopher Shenton, SOUTHERN COALITION FOR SOCIAL JUSTICE,
        Durham, North Carolina; Ezra D. Rosenberg, Jennifer Nwachukwu, Pooja Chaudhuri,
        Alexander S. Davis, Javon Davis, LAWYERS’ COMMITTEE FOR CIVIL RIGHTS
        UNDER LAW, Washington, D.C.; Lee Rubin, Palo Alto, California, Rachel J. Lamorte,
        Catherine Medvene, Washington, D.C., Jordan Hilton, Salt Lake City, Utah, Harsha
        Tolappa, MAYER BROWN LLP, Chicago, Illinois, for Amici North Carolina NAACP,
        Jackson Sailor Jones, and Bertha Leverette.




                                                   3
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024     Pg: 4 of 40




        BERNER, Circuit Judge:

               This appeal concerns whether remand of a claim to state court was proper. The

        Republican National Committee (“RNC”) and the North Carolina Republican Party

        (“NCGOP”) (together, “Plaintiffs”) filed two state law claims, one statutory and one

        constitutional, in a North Carolina superior court against the North Carolina State Board of

        Elections and its members (“State Board”). Both claims stemmed from the State Board’s

        alleged noncompliance with the Help America Vote Act of 2002 (“HAVA”),

        52 U.S.C. § 20901 et seq., a federal statute that was intended to improve voting systems

        and voter access.

               The Democratic National Committee (“DNC”) intervened as a defendant. Together,

        the DNC and the State Board (“Defendants”) removed the action to federal court pursuant

        to 28 U.S.C. §§ 1441 and 1443(2) and filed a motion to dismiss both claims. Under

        28 U.S.C. § 1441, defendants may remove to federal court those claims over which federal

        courts possess original jurisdiction, including federal question jurisdiction under

        28 U.S.C. § 1331. Title 28 of the United States Code, Section 1443, allows defendants to

        remove to federal court certain claims involving federal equal rights laws.

               The district court held that it possessed original jurisdiction over Plaintiffs’ state

        statutory claim but lacked original jurisdiction over the state constitutional claim. The

        district court then granted Defendants’ motion to dismiss the statutory claim because the

        relevant statutory provision does not provide for a private right of action. Following

        dismissal of the state statutory claim, the district court declined to exercise supplemental

        jurisdiction over the remaining state constitutional claim. It also held that Section 1443 did


                                                      4
USCA4 Appeal: 24-2045       Doc: 64            Filed: 10/29/2024   Pg: 5 of 40




        not provide a valid basis for removal. As a result, the district court remanded the

        constitutional claim to state court.

               We hold that the district court’s remand order was improper for two reasons. First,

        the district court possessed original jurisdiction over the state constitutional claim under

        Section 1331, as the claim contains an embedded federal question. Removal was thus

        permissible under Section 1441. Second, Defendants validly removed the constitutional

        claim pursuant to Section 1443(2), which allows for removal in cases involving the

        “refus[al] to do any act on the ground that it would be inconsistent with” “any law providing

        for equal rights.” 28 U.S.C. § 1443(2). Here, the State Board refused to perform Plaintiffs’

        requested act—striking certain registered voters from North Carolina’s voter rolls—on the

        ground that doing so within 90 days of a federal election would violate provisions of Title

        I of the Civil Rights Act of 1964, Pub. L. No. 88-352, § 101, 78 Stat. 241, 241-42 (July 2,

        1964) (codified at 52 U.S.C. § 10101), and the National Voter Registration Act of 1993

        (“NVRA”), Pub. L. No. 103-31, 107 Stat. 77 (May 20, 1993) (codified at 52 U.S.C.

        § 20501 et seq.). These are “law[s] providing for equal rights” within the meaning of

        Section 1443. We thus reverse the district court’s remand order and return this matter to

        the district court for further proceedings consistent with this opinion.




                                                        5
USCA4 Appeal: 24-2045      Doc: 64          Filed: 10/29/2024     Pg: 6 of 40




                                        I. Statement of Jurisdiction

               A. Organizational Standing

               Though both parties agree that Plaintiffs possess Article III standing, we have “an

        independent obligation to assure that standing exists.” 1 Summers v. Earth Island Inst., 555

        U.S. 488, 499 (2009). An organization may have standing to sue on its own behalf for

        injuries it sustains as a result of a defendant’s actions. Havens Realty Corp. v. Coleman,

        455 U.S. 363, 379 n. 19 (1982). To do so, however, a plaintiff must show “far more than

        simply a setback to the organization’s abstract social interests.” Food & Drug Admin. v.

        All. for Hippocratic Med., 602 U.S. 367, 394 (2024) (“Hippocratic Medicine”) (quoting

        Havens Realty, 455 U.S. at 379). Rather, the organization must make the necessary

        showing to demonstrate Article III standing—an injury-in-fact, caused by the defendant,

        that can be redressed by a favorable decision from the court. Id. at 393-94. “A federal court

        cannot ignore this requirement without overstepping its assigned role in our system of

        adjudicating only actual cases and controversies.” Simon v. E. Ky. Welfare Rts. Org., 426

        U.S. 26, 39 (1976).

                      1. Injury-in-Fact

               The Supreme Court set forth the standard for organizational standing in Havens

        Realty. See generally Havens Realty, 455 U.S. at 378-79. There, the Court held that an



               1
                  Defendants asserted that organizational standing provides a basis for federal
        jurisdiction. Plaintiffs equivocated on the issue but ultimately conceded at oral argument
        that they likely possess associational standing. We agree with the concurrence that
        Plaintiffs lack associational standing.


                                                     6
USCA4 Appeal: 24-2045       Doc: 64            Filed: 10/29/2024   Pg: 7 of 40




        organization whose core mission included providing housing counseling services had

        standing to sue a real estate company that engaged in racial steering. Id. The Court found

        that the organization suffered an injury-in-fact because the company’s racial steering

        “perceptibly impaired” the organization’s ability to provide a key component of the

        organization’s mission. Id. at 379.

               This court has applied Havens Realty’s organizational standing principles on

        numerous occasions. We have recognized that “when an action ‘perceptibly impair[s]’ an

        organization’s ability to carry out its mission and ‘consequent[ly] drain[s] . . . the

        organization’s resources,’ ‘there can be no question that the organization has suffered’ an

        injury-in-fact.’” N.C. State Conf. of the NAACP v. Raymond, 981 F.3d 295, 301 (4th Cir.

        2020) (alterations in original) (quoting Havens Realty, 455 U.S. at 379); see also People

        for the Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W. Md., Inc., 843

        F. App’x 493, 496-97 (4th Cir. 2021) (“PETA”) (holding that PETA had standing because

        its diversion of resources in response to defendant’s actions impeded the organization’s

        “efforts to carry out its mission”).

               At the same time, we have recognized limitations to organizational standing. In

        Lane v. Holder, we noted that “mere expense” does not constitute an injury in-fact where

        the decision to divert resources is not in response to a threat to the organization’s core

        mission. 703 F.3d 668, 675 (4th Cir. 2012). We have consistently held that standing cannot

        be established on the sole basis of an organization’s uncompelled choice to expend

        resources. See, e.g., N.C. State Conf. of the NAACP, 981 F.3d at 301 (“[T]he Havens Realty

        standard is not met simply because an organization makes a ‘unilateral and uncompelled’


                                                        7
USCA4 Appeal: 24-2045      Doc: 64         Filed: 10/29/2024      Pg: 8 of 40




        choice to shift its resources away from its primary objective to address a government

        action.”); S. Walk at Broadlands Homeowner’s Ass’n v. OpenBand at Broadlands, LLC,

        713 F.3d 175, 183 (4th Cir. 2013) (organization lacked standing because it failed to allege

        that the defendant’s actions “frustrate[d] its stated organizational purpose”); PETA, 843 F.

        App’x at 497 (“PETA did not allege or prove that its injury consisted of the costs associated

        with the instant lawsuit, but, rather, satisfied Havens Realty by alleging and proving that

        Defendants’ actions impaired its ability to carry out its mission combined with a

        consequent drain on its resources.”).

               The Supreme Court addressed organizational standing most recently in Hippocratic

        Medicine, where several medical advocacy organizations opposed to abortion, together

        with individual doctors, sued the Food and Drug Administration (“FDA”) to challenge the

        agency’s approval of the abortion-inducing drug mifepristone. Hippocratic Med., 602 U.S.

        at 376, 395. The plaintiffs asserted standing on the basis that they (1) incurred costs to

        conduct studies so they could inform their members and the public about risks posed by

        mifepristone, (2) drafted citizen petitions to the FDA, and (3) engaged in public advocacy

        and public education. Id. at 394. The medical advocacy organizations argued that they

        established standing under Havens Realty because they had diverted resources in response

        to the FDA’s actions. Id. at 394-95. The Court rejected that argument and explicitly

        declined to “extend the Havens holding beyond its context.” Id. at 396. The Court held that

        the organizations lacked organizational standing because they failed to allege that the

        FDA’s actions imposed an impediment to their advocacy similar to the impediment

        imposed in Havens Realty. Id. at 395. Instead, the organizations expended resources only


                                                     8
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 9 of 40




        relevant to “abstract social interests” in response to the FDA’s approval of mifepristone,

        and not to their core mission. Id. at 394.

               This case involves more than simply an organization’s efforts to “spend its way into

        standing.” Id. at 394. Here, Plaintiffs together allege that “Defendants’ actions and inaction

        directly impact Plaintiffs’ core organizational missions of election security and providing

        services aimed at promoting Republican voter engagement and electing Republican

        candidates for office.” J.A. 26. Plaintiffs allege that the RNC’s “core mission involves

        organizing lawful voters and encouraging them to support Republican candidates at all

        levels of government” and that it “expends significant time and resources fighting for

        election security and voting integrity across the nation.” J.A. 25. As for the NCGOP,

        Plaintiffs allege that the organization’s “core mission includes counseling interested voters

        and volunteers on election participation including hosting candidate and voter registration

        events, staffing voting protection hotlines, investigating reports of voter fraud and

        disenfranchisement.” J.A. 25-26. Plaintiffs contend that the State Board’s violations of

        HAVA forced them to “divert significantly more of their resources into combatting election

        fraud in North Carolina,” efforts which have frustrated their organizational and voter

        outreach efforts. J.A. 26. Under Supreme Court precedent, and that of this court, these

        allegations suffice to allege organization injury under Article III.

               In Havens Realty, the plaintiff’s core mission included counseling low- and

        moderate-income home buyers. Similarly here, the core mission of the RNC and the

        NCGOP is to counsel voters to support Republican candidates. Plaintiffs contend that this

        core mission is directly “affected and interfered with,” see Hippocratic Med., 602 U.S. at


                                                      9
USCA4 Appeal: 24-2045      Doc: 64         Filed: 10/29/2024      Pg: 10 of 40




        395, because Plaintiffs are unable to ascertain which of the 225,000 people whom they

        allege registered improperly will be able to vote in the upcoming election. Plaintiffs claim

        they have already spent significant resources and seen their mission frustrated by the

        inaction of the State Board in remedying the alleged defects in the voter rolls. They claim

        that their “organizational and voter outreach efforts”—which, for the RNC, are on a

        national scale—“have been and will continue to be significantly stymied due to

        Defendants’ ongoing failures.” J.A. 26. Plaintiffs sufficiently allege that the State Board’s

        failure to act has concretely impaired their core missions.

                      2. Causation

               The allegations in Plaintiffs’ Complaint also satisfy the other standing

        requirements—causation and redressability. To prove causation, Plaintiffs must show that

        their injury can be traced to the State Board’s actions, and did not result from the

        independent action of a non-party to the case. Bishop v. Bartlett, 575 F.3d 419, 425 (4th

        Cir. 2009) (citing Simon, 426 U.S. at 41-42). Here, Plaintiffs allege the State Board’s

        failure to comply with HAVA forced them to divert resources into combatting election

        fraud and monitoring various aspects of the upcoming election in North Carolina. Their

        injury is therefore traceable to State Board’s conduct.

                      3. Redressability

               To satisfy the redressability prong, Plaintiffs must show that it is likely, and not

        merely speculative, that a favorable decision from the federal court will remedy their

        injury. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). The burden under this prong

        is “not onerous” and requires Plaintiffs to show only that they “personally would benefit


                                                     10
USCA4 Appeal: 24-2045          Doc: 64      Filed: 10/29/2024     Pg: 11 of 40




        in a tangible way from the court’s intervention.” Disability Rts. S.C. v. McMaster, 24 F.4th

        893, 903 (4th Cir. 2022). To that end, we have stated that “[t]he removal of even one

        obstacle to the exercise of one’s rights, even if other barriers remain, is sufficient to show

        redressability.” Id.

               Plaintiffs ask the court to “immediately and permanently rectify th[e] harm” they

        suffered as a result of the State Board’s failure to comply with HAVA “in order to protect

        the integrity of North Carolina’s elections.” J.A. 40. More specifically, Plaintiffs ask the

        court to order the State Board to remove all voter registrants who did not provide their

        driver’s license number or the last four digits of their social security number on their

        application or, alternatively, to require those individuals to vote provisionally. Such an

        order would address Plaintiffs’ alleged injury and permit them to reallocate their resources

        accordingly. Thus, a favorable decision would redress Plaintiffs’ injury.

               Therefore, we find that Plaintiffs have standing to proceed in federal court.

               B. Removal Jurisdiction

               Appellate review of a district court order remanding a removed case to state court

        is circumscribed by Section 1447(d) of Title 28 of the United States Code. When remand

        is based on a lack of subject-matter jurisdiction, review of the remand order is typically

        barred. See Carlsbad Tech., Inc. v. HIF Bio, Inc., 556 U.S. 635, 638 (2009).

               In passing the Civil Rights Act of 1964, however, Congress created an exception to

        the Section 1447(d) general rule barring appellate review of a remand order. Title IX of the

        Civil Rights Act of 1964, Pub. L. No. 88-352, § 901, 78 Stat. 241, 266 (July 2, 1964). When

        an appeal involves an order remanding a case to the state court from which it was removed


                                                     11
USCA4 Appeal: 24-2045        Doc: 64        Filed: 10/29/2024       Pg: 12 of 40




        pursuant to Section 1443, the general bar to appellate review of a remand order does not

        apply. BP P.L.C. v. Mayor of Balt., 593 U.S. 230, 241-42 (2021) (discussing the exception

        to Section 1447).

                  Our review of the remand order is not confined to the argument for removal under

        Section 1443. Id. at 236-37. We may properly review “the whole of a district court’s

        ‘order,’ not just some of its parts or pieces.” Id. at 237. Indeed, we are required to “review

        the merits of all theories for removal that a district court has rejected.” Id. at 236. In this

        case, that includes whether jurisdiction was proper under 28 U.S.C. §§ 1331, 1443, or

        1367. 2

                                           II. Standard of Review

                  We review de novo questions of subject-matter jurisdiction, including removal.

        Mayor of Balt. v. BP P.L.C., 31 F.4th 178, 197 (4th Cir. 2022), cert. denied, 143 S. Ct.

        1795 (2023). “The party seeking removal bears the burden of showing removal is proper.”

        Id. (quoting Prince v. Sears Holdings Corp., 848 F.3d 173, 176 (4th Cir. 2017)). “Because

        removal jurisdiction raises significant federalism concerns, we must strictly construe

        removal jurisdiction.” Id. (quoting Mulcahey v. Columbia Organic Chems. Co., 29 F.3d

        148, 151 (4th Cir. 1994)).




                  We also possess jurisdiction to review the remand order on an alternate ground:
                  2

        the district court declined to exercise supplemental jurisdiction. See 28 U.S.C. § 1367(c).
        “When a district court remands claims to a state court after declining to exercise
        supplemental jurisdiction, the remand order is not based on a lack of subject-matter
        jurisdiction.” Carlsbad, 556 U.S. at 641. As discussed above, Section 1447(d) “interposes
        no bar to appellate review” where remand is not due to a lack of subject-matter jurisdiction.
        Quackenbush v. Allstate Ins., 517 U.S. 706, 711-12 (1996).

                                                      12
USCA4 Appeal: 24-2045      Doc: 64           Filed: 10/29/2024    Pg: 13 of 40




                                            III. Factual Background

               On August 23, 2024, Plaintiffs filed a two-count Complaint in a North Carolina

        superior court. Though brought under state law, the entire lawsuit—as pled—turns on

        whether Defendants violated HAVA. The Plaintiffs contend in their Complaint that the

        State Board “violated HAVA and, as a result, state law.” J.A. 156.

               The alleged HAVA violations that form the basis of the state law claims derive from

        concerns about the adequacy of a voter registration form which had been in use in North

        Carolina before December 2023. In accepting and processing voter registration

        applications, HAVA requires states to include “the applicant’s driver’s license number” or,

        if the applicant lacks a valid driver’s license, “the last 4 digits of the applicant’s social

        security number.” HAVA § 21083(a)(5)(A) (hereinafter “Subsection (a)(5)(A)”). If an

        applicant possesses neither a valid driver’s license nor a social security number, then the

        state must “assign the applicant a number which will serve to identify the applicant for

        voter registration purposes.” Id.

               Plaintiffs allege that a voter registration form previously used by the State Board

        was noncompliant with HAVA because it did not clearly indicate that an applicant—unless

        she lacked either number—was required to list her driver’s license number or the last four

        digits of her social security number. North Carolina’s previous voter registration form

        instructed applicants, “if you have a NC driver license or non-operator’s identification

        number, provide this number. If you do not have a NC driver license or ID card, then

        provide the last four digits of your social security number.” J.A. 427. The form contained

        fields for applicants to enter both numbers. While the form stated that “fields in red text


                                                      13
USCA4 Appeal: 24-2045       Doc: 64          Filed: 10/29/2024    Pg: 14 of 40




        are required,” the fields for the driver’s license and social security numbers were not in red

        text. J.A. 426.

               In response to a complaint about this discrepancy, the State Board updated its form

        to mark the driver’s license number and social security number fields in red text. Plaintiffs

        contend that 225,000 people, including “possible non-citizens” and other ineligible voters,

        registered to vote using the previous form. J.A. 23. Plaintiffs allege that the State Board

        was required to strike these ineligible voters from the North Carolina voter rolls and refused

        to do so.

               Plaintiffs allege that the State Board’s conduct violated two provisions of HAVA,

        infractions that in turn constitute two violations of North Carolina state law. The first

        HAVA provision, Subsection (a)(5)(A), sets forth requirements states must follow when

        registering voters. The second HAVA provision, Subsection (a)(2)(A), establishes states’

        obligations in maintaining their voter rolls. This provision requires state election officials

        to “perform list maintenance with respect to the computerized list on a regular basis.”

        HAVA Subsection (a)(2)(A). Count One of Plaintiffs’ Complaint alleges a violation of

        North Carolina General Statutes Section 163.82-11(c) (hereinafter “the North Carolina

        statute”), which requires “[t]he State Board of Elections [to] update the statewide

        computerized voter registration list and database to meet the requirements of [HAVA].”

        Count Two asserts that the State Board violated the Equal Protection Clause of the North

        Carolina Constitution, Article 1 § 19, through HAVA violations that “open[ed] the door to

        potential” vote dilution. J.A. 40.




                                                     14
USCA4 Appeal: 24-2045       Doc: 64          Filed: 10/29/2024       Pg: 15 of 40




                                                  IV. Analysis

               A. The District Court Possessed Federal Question Jurisdiction Over Count Two

               We first evaluate whether Count Two, though brought under state law, contains an

        embedded federal question giving rise to federal jurisdiction under Section 1331. In the

        “vast bulk of suits” involving the exercise of federal jurisdiction under Section 1331,

        “federal law creates the cause of action.” Gunn v. Minton, 568 U.S. 251, 257 (2013).

        Certain claims brought under state law, however, also fall within the scope of federal

        question jurisdiction. The Supreme Court has established that “federal jurisdiction over a

        state law claim will lie if a federal issue is: (1) necessarily raised, (2) actually disputed, (3)

        substantial, and (4) capable of resolution in federal court without disrupting the federal-

        state balance approved by Congress.” Id. at 258 (citing Grable & Sons Metal Prods., Inc.

        v. Darue Eng’g & Mfg., 545 U.S. 308, 313-14 (2005)).

               The district court held that Count One satisfied all four Gunn factors. It then

        “assume[d] without deciding” that Count Two met the first three requirements. J.A. 575.

        The district court held, however, that federal jurisdiction did not lie over Count Two

        because of the fourth Gunn factor. In the view of the district court, the federal issue

        implicated by Count Two could not be resolved in federal court without disrupting the

        federal-state balance. J.A. 575 (quoting Gunn, 568 U.S. at 258).

               We conclude that the district court was correct in its assumption that Count Two

        satisfied the first three Gunn factors for the same reasons as Count One. We disagree,

        however, with its conclusion regarding the fourth factor. Because we find that Count Two

        satisfies all four Gunn factors, we hold that the district court possessed original jurisdiction


                                                       15
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 16 of 40




        over Count Two under Section 1331. As a result, removal of Count Two pursuant to

        Section 1441 was proper.

                      1. Necessarily Raised

               Looking to the first Gunn factor, the district court had no difficulty concluding that

        Count One “necessarily raises an issue of federal law.” J.A. 577. The court explained:

               “To prevail on [the] claim,” Plaintiffs “must show that” Defendants failed to
               comply with Section 303(a) of HAVA. Gunn, 568 U.S. at 259. “That will
               necessarily require application of [HAVA] to the facts of [Plaintiffs’] case.”
               Id. In other words, whether Defendants violated HAVA is “an essential
               element” of Plaintiffs’ state law claim. Grable, 545 U.S. at 315; see also
               N.C.G.S. § 163-82.11(c). And “the claim’s very success depends on giving
               effect to a federal requirement.” Merrill Lynch, Pierce, Fenner & Smith Inc.
               v. Manning, 578 U.S. 374, 384 (2016). The court finds the first factor is met.

        J.A. 577.

               This analysis applies to Count Two with equal force. Plaintiffs’ state constitutional

        theory runs squarely through HAVA. Under the theory articulated in the Complaint,

        determining whether the State Board violated HAVA is necessary and essential to the

        resolution of Plaintiffs’ state constitutional claim. The federal questions essential to

        resolving Plaintiffs’ state constitutional claim are the same questions that the district court

        found necessary to the resolution of Plaintiffs’ now-dismissed state statutory claim: (1) did

        North Carolina’s previous voter registration form violate HAVA Subsection (a)(5)(A); and

        (2) if so, did the “list maintenance” mandated by HAVA Subsection (a)(2)(A) include a

        requirement that the State Board remove voters who registered to vote using a form that

        violated HAVA Subsection (a)(5)(A)?




                                                      16
USCA4 Appeal: 24-2045       Doc: 64        Filed: 10/29/2024      Pg: 17 of 40




               Count Two of Plaintiffs’ Complaint begins as follows: “Defendants have a non-

        discretionary, statutory duty to maintain the state’s voter rolls in a manner compliant with

        Section 303(a) of HAVA.” J.A. 39. The Complaint then states that the North Carolina

        statute is “an affirmative command, creating a duty imposed by law.” Id. As discussed

        more fully below, the North Carolina statute does nothing more than require the State

        Board to “meet the requirements of [S]ection 303(a) of [HAVA].” N.C. Gen. Stat.

        § 163-82.11(c). Count Two also states that the State Board admitted they failed to uphold

        this duty, namely, the duty to comply with HAVA, “when they accepted hundreds of

        thousands of voter registrations which were plainly non-compliant with Section 303(a) of

        HAVA.” J.A. 39. The Complaint further asserts that “[d]espite this admission, Defendants

        refuse to take any action to remedy their violations” of HAVA and the North Carolina

        statute. J.A. 40.

               Plaintiffs’ requests for relief make it abundantly clear that Count Two turns entirely

        on a determination of the requirements of HAVA. First, Plaintiffs seek “a writ of

        mandamus and a mandatory injunction ordering Defendants to develop, implement, and

        enforce practices and policies to ensure compliance with HAVA.” Id. (emphasis added).

        Second, they request “a court-approved plan” that would direct Defendants “to remedy”

        their alleged violations of HAVA. Id. This plan would, where necessary, “require all

        individuals who failed to provide necessary HAVA identification information but were still

        registered to vote under the state’s prior registration form, to cast a provisional ballot in

        upcoming elections pending Defendants’ receipt and confirmation of the required HAVA

        information.” J.A. 40-41 (emphases added). Finally, Plaintiffs ask the court to direct


                                                     17
USCA4 Appeal: 24-2045        Doc: 64         Filed: 10/29/2024      Pg: 18 of 40




        Defendants to take all actions necessary to ensure future compliance with HAVA. J.A. 41.

        All three requests for relief, if granted, would require the court to mandate compliance with

        HAVA.

                 In sum, Count Two alleges that the State Board violated the North Carolina state

        constitution by (1) violating HAVA, (2) violating a state statute requiring them not to violate

        HAVA, and (3) failing to remedy their violations of (1) and (2). The Complaint contains no

        articulation of a state constitutional violation separate and apart from an alleged HAVA

        violation. This is a state cause of action in name only.

                 Plaintiffs requested relief also presents a potential conflict with the 90-day “quiet

        period” contained in Section 8(c) of the NVRA. The 90-day quiet period requires that:

                 A State shall complete, not later than 90 days prior to the date of a primary
                 or general election for Federal office, any program the purpose of which is
                 to systematically remove the names of ineligible voters from the official lists
                 of eligible voters.

        52 U.S.C. § 20507(c)(2)(A). The 90-day quiet period prohibits systematic removal

        programs “90 days before an election because that is when the risk of dis[en]franchising

        eligible voters is the greatest.” Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1346 (11th Cir.

        2014).

                 Plaintiffs filed their Complaint 74 days before the November federal election—well

        within the NVRA’s proscribed 90-day quiet period. North Carolina has a unified

        registration system for both state and federal elections, and thus is bound by the provisions

        of the NVRA for the registrants at issue here. See N.C. Gen. Stat. § 163-82.11(a)




                                                       18
USCA4 Appeal: 24-2045       Doc: 64          Filed: 10/29/2024      Pg: 19 of 40




        (establishing “a statewide computerized voter registration system” to “serve as the single

        system for storing and managing the official list of registered voters in the State”).

               Without weighing whether the relief requested by Plaintiffs runs afoul of the 90-day

        quiet period, at a minimum the NVRA poses a threshold federal question that must be

        answered before Plaintiffs can prevail on their claim. The district court correctly noted that

        Plaintiffs could not succeed unless a court first accepted Plaintiffs’ theory that “the

        NVRA’s restrictions on removals only appl[y] to valid registrants, and individuals who

        registered to vote in a manner inconsistent with HAVA are not valid registrants.” J.A. 580.

               That the 90-day quiet period in the NRVA could altogether foreclose Plaintiffs’

        requested relief only serves to bolster the conclusion that Plaintiffs’ claims necessarily raise

        an issue of federal law. Plaintiffs’ theory of Count Two, like their theory of Count One,

        turns entirely on alleged violations of HAVA Subsections (a)(2)(A) and (a)(5)(A).

        Accordingly, Count Two satisfies the first Gunn factor because it “necessarily raises an

        issue of federal law.”

                      2. Actually Disputed

               The second Gunn factor looks to whether the federal issue is “actually disputed.” In

        analyzing this factor in the context of Count One, the district court found that Defendants

        “effectively conceded a violation of [HAVA Subsection (a)(5)(A)]” by admitting that the

        previous voter registration form created the risk of confusion and error. J.A. 578. As a




                                                      19
USCA4 Appeal: 24-2045         Doc: 64        Filed: 10/29/2024      Pg: 20 of 40




        result, the district court concluded that a HAVA Subsection (a)(5)(A) violation was

        “undisputed.” 3 Id.

               The district court held, however, that Count One hinged on the meaning of a

        different sub-provision of HAVA—Subsection (a)(2)(A). In the district court’s view,

        “Plaintiffs in theory could have attempted to articulate a violation of [the state statute] that

        rested solely on Defendants’ registration of voters in a manner out of compliance with

        HAVA [Subsection (a)(5)(A)]. But Plaintiffs are the masters of their Complaint and that is

        not the theory that they alleged.” J.A. 579 n.5 (emphasis in original).

               Instead, Plaintiffs allege in their Complaint that the State Board violated the North

        Carolina statute providing that “[t]he State Board of Elections shall update the statewide

        computerized voter registration list and database to meet the requirements of [S]ection

        303(a) of the Help America Vote Act of 2002.” N.C. Gen. Stat. § 163-82.11(c) (emphasis

        added). Under the theory outlined in the Complaint, the State Board violated North

        Carolina state law through its failure to comply with HAVA’s “list maintenance”

        requirements by refusing to remove certain voters from the voter rolls, not through the

        initial use of an allegedly defective form. As a result, the question critical to Plaintiffs’

        state statutory claim was whether the “list maintenance” mandated by HAVA included a

        requirement that the State Board remove voters who registered using a flawed form.




               3
                We are not convinced that Defendants conceded to a violation of HAVA, but we
        need not reach that issue.


                                                      20
USCA4 Appeal: 24-2045         Doc: 64          Filed: 10/29/2024      Pg: 21 of 40




                  Defendants argue that HAVA Subsection (a)(2)(A) actually prohibits them from

        removing the voters in question rather than requiring them to do so. HAVA permits state

        officials to remove a registered voter from a registration list only in accordance with certain

        “provisions of the National Voter Registration Act of 1993.” J.A. 508; HAVA Subsection

        (a)(2)(A). The NVRA, in turn, limits the circumstances under which “the name of a

        registrant may . . . be removed from the official list of eligible voters.” 52 U.S.C.

        § 20507(a). As the district court noted, “those defined circumstances do not include a

        voter’s     failure   to   initially   register   to   vote   in   compliance   with   [HAVA

        Subsection (a)(5)(A)].” J.A. 579.

                  Plaintiffs assert that the meaning of “registrant” within the NVRA is implicitly

        limited to valid registrants—a category excluding those who registered under North

        Carolina’s previous form. Thus, according to Plaintiffs, the NVRA presents no barrier, and

        the “list maintenance” required by HAVA Subsection (a)(2)(A) includes removing those

        voters. J.A. 580.

               Because the district court found that the North Carolina statute lacked a private right

        of action, it declined to resolve the dispute concerning the parties’ competing

        interpretations of HAVA Subsection (a)(2)(A) and, in turn, the meaning of the term

        “registrant” within the NVRA. The district court recognized, however, that the Plaintiffs’

        statutory claim under the North Carolina statute turned on a disputed issue of federal law—

        the meaning of HAVA Subsection (a)(2)(A):

               Like in Grable, the meaning of . . . HAVA is “an essential element” of
               Plaintiffs’ claim under [N.C. Gen. Stat.] Section 163-82.11. Grable, 545 U.S.
               at 315. This question of federal law “requires resolution,” Franchise Tax Bd.,


                                                          21
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 22 of 40




               463 U.S. at 13, and “is the central point of dispute,” Gunn, 568 U.S. at 259.
               Because Plaintiffs’ state law claim “really . . . involves a dispute” concerning
               the “construction, or effect,” of a federal law, Shulthis v. McDougal, 225
               U.S. 561, 569 (1912).

        J.A. 580-81.

               The federal issue—whether defendants violated HAVA Subsection (a)(2)(A)—is

        “actually disputed.” This is equally true for Count Two as it was for Count One. “[I]ndeed,

        on the merits, it is the central point of dispute.” Gunn, 568 U.S. at 259. The district court

        aptly noted that, even if Defendants conceded a violation of HAVA Subsection (a)(5)(A),

        whether Defendants violated HAVA Subsection (a)(2)(A) remains in contention.

               We note that this court recently rejected a theory of statutory construction closely

        resembling Plaintiffs’ argument in this case. Plaintiffs contend that the NVRA, in limiting

        the circumstances in which “the name of a registrant may . . . be removed from the official

        list of eligible voters,” 52 U.S.C. § 20507(a), implicitly qualified the word registrant to

        refer only to valid registrants.

               In Virginia Coalition for Immigrant Rights v. Beals, this court declined to adopt a

        construction of the NVRA that added an implicit modifier to the word “registrant.” Case

        No. 24-2071, at 3-4 (4th Cir. Oct. 27, 2024), ECF No. 22. We stated, “Appellants’ proposed

        interpretation appears to violate another bedrock principle of statutory interpretation—this

        time, the plain-meaning rule—by reading ‘registrant’ in [NVRA] subsection (a)(3) as

        meaning something other than ‘one that registers or is registered’ to vote.” Id. Virginia

        Coalition casts serious doubt on Plaintiffs’ theory of statutory interpretation. That is a

        merits issue, however, that lies beyond the scope of this appeal. For the purpose of



                                                     22
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 23 of 40




        analyzing the second factor of the Gunn test, it is enough to note that parties certainly

        dispute whether a HAVA Subsection (a)(2)(A) violation occurred.

                       3. Substantial

               The third Gunn factor asks whether the federal issue is “substantial.” The

        substantiality inquiry looks to “the importance of the issue to the federal system as a

        whole.” Gunn, 568 U.S. at 260. Here, we confront whether HAVA (and, by extension, the

        NVRA) issues presented by Count Two implicate substantial federal interests. As framed

        by the district court:

               Distilled to its essence, this case concerns whether or not a state may, or in
               fact must, remove a registered voter from a voting roll shortly before a
               national election or require that voter to cast a provisional ballot because that
               voter (through no apparent fault of their own) was initially registered to vote
               in a manner inconsistent with federal law.

        J.A. 581. We have no hesitation concluding that this issue is of substantial importance “to

        the federal system as a whole.” Gunn, 568 U.S. at 260. “It is beyond cavil that voting is of

        the most fundamental significance under our constitutional structure.” Burdick v. Takushi,

        504 U.S. 428, 433 (1992) (quoting Ill. Bd. of Elections v. Socialist Workers Party, 440 U.S.

        173, 184 (1979)). “The right to vote freely for the candidate of one’s choice is of the

        essence of a democratic society, and any restrictions on that right strike at the heart of

        representative government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964). At the same time,

        confirming that all voters are eligible is of great national importance. “Confidence in the

        integrity of our electoral processes is essential to the functioning of our participatory

        democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).




                                                      23
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 24 of 40




               This case stands in stark contrast to Gunn. The patent dispute in Gunn was

        “backward-looking” and “hypothetical,” 568 U.S. at 261, and any potential preclusive

        effect of the state court’s ruling “would [have] be[en] limited to the parties and patents that

        had been before the state court.” Id. at 263. This case, on the other hand, requires a

        prospective interpretation of what HAVA and the NVRA require. The desired remedy is

        forward-looking, and it would concretely impact 225,000 North Carolina voters. A state

        court ruling could very much change how federal law is enforced for this federal election

        and in future elections.

               We readily agree with the district court’s conclusion that “[t]here is a substantial

        federal interest in protecting the right to vote and in ensuring the integrity of elections.”

        J.A. 581. Where the answer to a question of federal law could potentially determine

        whether nearly a quarter-of-a-million voters may have their ballots counted in a federal

        election, it is one of substantial federal importance.

                      4. Federal-State Balance

               Turning to the fourth and final Gunn factor, which the district court found

        dispositive, we consider whether the exercise of federal jurisdiction over Count Two would

        “disrupt[] the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258. This

        factor asks us to evaluate whether hearing Count Two in federal court will “attract[] a horde

        of original filings and removal cases raising other state claims” or “portend only a

        microscopic effect” on “the normal currents of litigation.” Grable, 545 U.S. at 315, 318-19.

               We disagree with the district court’s conclusion that exercising federal jurisdiction

        over Count Two would open the floodgates to a wave of state constitutional litigation in


                                                      24
USCA4 Appeal: 24-2045      Doc: 64          Filed: 10/29/2024      Pg: 25 of 40




        federal court. Just as Grable found that “it will be the rare state title case that raises a

        contested matter of federal law,” id. at 315, we conclude that it will be the rare state equal

        protection case that turns on a violation of HAVA or the NVRA. In fact, we are aware of

        no other state constitutional case similar to this one, and Plaintiffs have pointed to none.

               Plaintiffs’ Count Two claim may come cloaked in state constitutional garb, but it

        raises only federal statutory questions. 4 Here, the alleged state constitutional claim

        necessarily turns on the contested interpretation of provisions of federal laws, HAVA and

        the NVRA. The viability of the state constitutional claim depends, therefore, on a court’s

        adopting Plaintiffs’ preferred reading of two federal statutes.

               As the district court recognized, consideration of HAVA’s overall statutory scheme

        “leads to the conclusion that Congress intended for federal courts to resolve core questions

        of statutory interpretation.” J.A. 591. HAVA authorizes the Attorney General to enforce

        compliance with its requirements “in an appropriate United States District Court.” HAVA

        § 21111 (emphasis added). We are confident that Congress did not intend to prevent federal

        courts from deciding cases where the sole issue, the interpretation of a federal statute, may

        determine who can vote in a federal election. The mere invocation of a state constitutional

        provision does not unsettle that conclusion.


               4
                  Indeed, plaintiffs likely brought this claim under the state constitution precisely
        because no federal cause of action lies for a generalized claim of “vote dilution” like the
        one asserted here. See Wood v. Raffensperger, 981 F.3d 1307, 1314-15 (11th Cir. 2020)
        (explaining that a vote dilution claim “is a ‘paradigmatic generalized grievance that cannot
        support standing.’”). This court has consistently rejected end-runs around federal
        jurisdiction where “a congressional act forms the basis of the plaintiffs’ complaint.” Bauer
        v. Elrich, 8 F.4th 291, 297-98 (4th Cir. 2021).


                                                       25
USCA4 Appeal: 24-2045        Doc: 64        Filed: 10/29/2024     Pg: 26 of 40




                 Because we find that Count Two satisfies all four Gunn factors, we hold that the

        district court possessed federal question jurisdiction over Count Two under Section 1331.

        As a result, removal of Count Two pursuant to Section 1441 was proper. Having concluded

        that the district court possessed original jurisdiction over Count Two, we need not consider

        whether it abused its discretion in declining to exercise supplemental jurisdiction over that

        claim.

                 B. Removal Was Proper Under Section 1443(2)

                 Removal of Count Two was also proper under Section 1443(2). That provision

        allows for removal of cases by a defendant who is “refusing to do any act on the ground

        that it would be inconsistent with” the defendant’s “authority derived from any law

        providing for equal rights.” 28 U.S.C. § 1443(2). The State Board, in its notice of removal,

        grounded its refusal to strike people from voting rolls within 90 days of an election “on

        [its] obligation to comply with 52 U.S.C. § 10101(a)(2) and 52 U.S.C. § 20507(c)(2)(A).”

        Notice of Removal at 2, J.A. 8. These provisions “provid[e] for equal rights” within the

        meaning of Section 1443(2).

                 The Supreme Court has limited the scope of Section 1443. In Georgia v. Rachel, the

        Court held that “the phrase ‘any law providing for equal civil rights’ must be construed to

        mean any law providing for specific civil rights stated in terms of racial equality.” 384

        U.S. 780, 792 (1966) (emphasis added). Contrary to the district court’s remand order,

        however, this case meets Rachel’s standard for removal under Section 1443. The relevant

        provisions of the Civil Rights Act and the NVRA expressly protect rights “stated in terms

        of racial equality.” Id.


                                                     26
USCA4 Appeal: 24-2045       Doc: 64          Filed: 10/29/2024       Pg: 27 of 40




               The first provision upon which Defendants based removal, Section 10101(a)(2),

        was enacted as Title I of the Civil Rights Act of 1964. The subsection relevant to the State

        Board’s refusal to strike individuals from voter rolls is known as the Materiality Provision

        of the Civil Rights Act. It provides that:

               No person acting under color of law shall . . . deny the right of any individual
               to vote in any election because of an error or omission on any record or paper
               relating to any application, registration, or other act requisite to voting, if
               such error or omission is not material in determining whether such individual
               is qualified under State law to vote in such election.

        52 U.S.C. § 10101(a)(2)(B).

               As the Third Circuit explained, the Materiality Provision was “part of Congress’

        effort to ‘outlaw[s] some of the tactics’ used by States ‘to disqualify [African Americans]

        from voting in federal elections.’” Pa. State Conf. of NAACP Branches v. Sec’y

        Commonwealth of Pa., 97 F.4th 120, 126 (3d Cir. 2024) (alteration in original) (quoting

        South Carolina v. Katzenbach, 383 U.S. 301, 313 (1966)). “One of the many techniques

        used to keep Black voters from the polls was to reject would-be registrants for insignificant,

        hyper-technical errors in filling out application forms.” Id. (citing Report of U.S. Comm’n

        on Civil Rights 1963, at 22). The Materiality Provision is contained in a section entitled

        “Race, color, or previous condition not to affect right to vote; uniform standards for voting

        qualifications; errors or omissions from papers.” 52 U.S.C. § 10101(a). That section of the

        Civil Rights Act further provides that “[a]ll citizens of the United States who are otherwise

        qualified by law to vote . . . shall be entitled and allowed to vote . . ., without distinction of

        race, color, or previous condition of servitude.” Id.




                                                       27
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 28 of 40




               The district court held that the Materiality Provision of the Civil Rights Act of 1964

        was not a law “providing for specific civil rights stated in terms of racial equality,” Rachel,

        384 U.S. at 792, because the provision itself “does not mention race” and is “phrased in

        terms of general application available to all persons.” J.A. 593. This reading is far too

        formalistic. 5 The Supreme Court’s decision in City of Greenwood v. Peacock, 384 U.S.

        808 (1966), a companion case to Rachel, cuts against a narrow reading of what constitutes

        a law providing for racial equality. In Peacock, the Supreme Court stated that a “precise

        definition of the limitations of the phrase ‘any law providing for . . . equal civil rights’ in

        § 1443(1) is not a matter we need pursue . . . because . . . at least the two federal statutes

        specifically referred to in the removal petitions, 42 U.S.C. § 1971 and 42 U.S.C. § 1981,

        do qualify under the statutory definition [of Section 1443(1)].” Id. at 825 (emphasis added).

        The Court referred to its description of these statutes, which included a citation to

        § 1971(b), which makes no express mention of race. Id. at 811 n.3. The text formerly

        incorporated in 42 U.S.C. Section 1971(b) is now codified at Section 10101(b).



               5
                  Other courts have likewise rejected this narrow reading, instead considering the
        Congressional act as a whole to determine whether certain provisions fall within
        Section 1443. The Fifth Circuit held that removal based on 52 U.S.C. § 10307(b), part of
        the Voting Rights Act, was proper, by looking at that Act more broadly, including its lead
        provision. Whatley v. City of Vidalia, 399 F.2d 521, 525-26 (5th Cir. 1968). The United
        States District Court for the District of Connecticut explained that, where a provision is
        “numbered among the laws collectively referred . . . as ‘any law providing for . . . equal
        civil rights,” removal is proper. New Haven Firefighters Local 825 v. City of New Haven,
        120 F. Supp. 3d 178, 184 (D. Conn. 2015) (upholding removal because 42 U.S.C.
        § 2000e-3(a), which was a provision barring retaliation under Title VII, was part of the
        Civil Rights Act). The United States District Court for the Southern District of New York
        found removal proper where the law at issue was § 4(e) of the Voting Rights Act. O’Keefe
        v. N.Y.C. Bd. of Elections, 246 F. Supp. 978, 979-80 (S.D.N.Y. 1965).

                                                      28
USCA4 Appeal: 24-2045      Doc: 64         Filed: 10/29/2024      Pg: 29 of 40




               Rachel and Peacock do not require us to wear blinders when reading subsections of

        the Civil Rights Act. It would be a stunning conclusion to hold that the Materiality

        Provision and similar sections of the Civil Rights Act of 1964 are not laws providing for

        racial equality. Indeed, Section 1443 and the accompanying exception to Section 1447’s

        general bar on appellate review of remand orders were passed alongside Section 10101 in

        the Civil Rights Act of 1964. Considering the context of the Civil Rights Act of 1964, as

        well as the history of discriminatory voting practices motivating the provision’s passage,

        we are left with no doubt that the Materiality Provision is a law protecting against racially

        discriminatory voting practices and “providing for equal rights” within the meaning of

        Section 1443(2).

               The provision of the NVRA establishing a 90-day quiet period is also a law

        providing for racial equality. 52 U.S.C. § 20507(c)(2)(A). That provision requires states to

        “complete, not later than 90 days prior to the date of a primary or general election for

        Federal office, any program the purpose of which is to systematically remove the names of

        ineligible voters from the official lists of eligible voters.” Id. Congress adopted the NVRA

        in part to address “discriminatory and unfair registration laws and procedures [that] can

        have a direct and damaging effect on voter participation in elections for Federal office and

        disproportionately harm voter participation by various groups, including racial minorities.”

        52 U.S.C. § 20501(a).

               The NVRA’s legislative history confirms that Congress enacted the act, and the 90-

        day quiet period in particular, for the express purpose of combating racial discrimination.

        “Several witnesses at the [committee] hearings in the 102d Congress testified that


                                                     29
USCA4 Appeal: 24-2045      Doc: 64          Filed: 10/29/2024     Pg: 30 of 40




        registration procedures in the United States are not uniform and that discriminatory and

        restrictive practices that deter potential voters are employed by some States.” S. Rep.

        103-6, at 3 (1993). The Senate Report explained that while “[t]he Voting Rights Act of

        1965 made most of these restrictive practices illegal,” “discriminatory and unfair practices

        still exist and deprive some citizens of their right to vote.” Id. It then warned that voter

        purge processes “must be structured to prevent abuse which has a disparate impact on

        minority communities. Unfortunately, there is a long history of such list cleaning

        mechanisms which have been used to violate the basic rights of citizens.” Id. at 18. The

        Report made clear that certain provisions, including the 90-day limitation at issue here,

        “were added to prevent the discriminatory nature of periodic voter purges, which they

        assert appear to affect [B]lacks and minorities more than others.” 6 Id. at 20.

               The text of the NVRA, including its lead provision, reveals that it is a law “providing

        for specific civil rights stated in terms of racial equality.” Rachel, 384 U.S. at 792.

        Defendants’ reliance on NVRA, like the Materiality Provision of the Civil Rights Act,

        provides a proper basis for removal under Section 1443(2).

                                               V. Conclusion

               We hold that remand of Count Two to North Carolina state court was improper. At

        issue is a substantial question of federal law, the resolution of which is appropriately



               6
                Also relevant is the reality that North Carolina has a “history of voting-related
        discrimination” against racial minorities “that dates back to the Nation’s founding.”
        League of Women Voters of North Carolina v. North Carolina, 769 F.3d 224, 244 45 (4th
        Cir. 2014) (quotation marks omitted).


                                                     30
USCA4 Appeal: 24-2045      Doc: 64        Filed: 10/29/2024    Pg: 31 of 40




        decided by the federal courts because it respects the federal-state balance envisioned by

        Congress and HAVA itself. The district court possessed original jurisdiction over Count

        Two pursuant to Section 1331, and Count Two was properly removed to federal court

        under Section 1441. We further conclude that removal was proper under Section 1443

        because both the Civil Rights Act of 1964 and the NVRA are laws “providing for equal

        rights.”

                               *                    *                   *

               The judgment of the district court is reversed, and the case is remanded for

        proceedings consistent with this opinion.

                                                                            IT IS SO ORDERED.




                                                    31
USCA4 Appeal: 24-2045      Doc: 64            Filed: 10/29/2024   Pg: 32 of 40




        DIAZ, Chief Judge, concurring:

               I join the majority’s thoughtful opinion but write separately to comment on the

        plaintiffs’ Article III standing—a threshold showing that they have made by the barest of

        threads.

               This lawsuit began in state court before being removed quickly to federal court.

        That removal should have prompted a fundamental jurisdictional question: Does the

        plaintiffs’ complaint plead the necessary Article III standing “to get in the federal

        courthouse door[?]” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 379

        (2024).

               The district court’s opinion didn’t consider this issue. Yet a plaintiff must meet this

        “bedrock constitutional requirement” in all cases. Id. at 378 (cleaned up). This showing

        is particularly important when political organizations try to vindicate the rights of

        individual voters mere weeks before a national election (and when early voting has already

        begun). And it’s a showing that we must satisfy ourselves of, despite the odd procedural

        posture of this case. Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009) (stating that

        federal courts have an “independent obligation to assure standing exists [even if not]

        challenged by any of the parties”).




                                                      32
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024     Pg: 33 of 40




               While ultimately I’m satisfied—again, just barely—by the plaintiffs’ showing at the

        pleading stage, I highlight recent developments in the law that expose the perils in relying

        on bare allegations and buzzwords to prove standing. 1

                                                      I.

               To first summarize the facts here: the Republican National Committee (“RNC”) and

        the North Carolina Republican Party filed a two-count complaint in North Carolina state

        court. The suit claims that the defendants’ alleged failure to collect certain information—

        either a person’s driver’s license number or the last four digits of their social security

        number—before registering that person to vote, violated the Help America Vote Act of

        2002 (and, by extension, a North Carolina statute mandating compliance with the Act) and

        the North Carolina Constitution. After the defendants removed the case to federal court,

        the plaintiffs moved to remand.

               To state the obvious then, the plaintiffs don’t want to be here. Their complaint does,

        however, allege that they had organizational and associational standing to sue in state court.

        But with the case now in federal court, the question is whether the allegations are enough

        to support Article III standing.




               1
                 This case is admittedly an odd vehicle to robustly analyze Article III standing.
        We’re reviewing an appeal of a remand order after the case was removed from state court.
        At oral argument, that posture left the defendants arguing for the plaintiffs’ Article III
        standing, and the plaintiffs sheepishly suggesting that they hadn’t pleaded enough to stay
        in federal court.

                                                     33
USCA4 Appeal: 24-2045      Doc: 64          Filed: 10/29/2024     Pg: 34 of 40




                                                     A.

               Any plaintiff appearing in federal court—whether an individual or organization—

        must show three things to establish standing: “(1) [they] suffered an injury-in-fact, (2) that

        is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

        redressed by a favorable judicial decision.” Hutton v. Nat’l Bd. of Exam’rs in Optometry,

        Inc., 892 F.3d 613, 619–20 (4th Cir. 2018) (cleaned up). An organization may do so in

        two ways, either “in its own right to seek judicial relief for injury to itself,” or “as a

        representative of its members who have been harmed.” People for Ethical Treatment of

        Animals, Inc. v. Tri-State Zoological Park of W. Md., Inc., 843 F. App’x 493, 495 (4th Cir.

        2021) (citing S. Walk at Broadlands Homeowner’s Ass’n v. OpenBand at Broadlands, LLC,

        713 F.3d 175, 182 (4th Cir. 2013)). We call the former organizational standing, and the

        latter associational or representational standing. See id.; see also N.C. State Conf. of the

        NAACP v. Raymond, 981 F.3d 295, 301 (4th Cir. 2020).

               In Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), the Supreme Court

        explained that an organization pleads an injury-in-fact if it shows that a defendant’s acts

        “perceptibly impaired” the organization’s activities and caused a “consequent drain on the

        organization’s resources.” Id. at 379. Even under that standard, however, the organization

        must show “far more than simply a setback to [its] abstract social interests.” Id.

               But this year in Food & Drug Administration v. Alliance for Hippocratic Medicine,

        602 U.S. 367 (2024), the Court tightened its standing analysis, clarifying that Havens

        Realty was “an unusual case,” id. at 396, that doesn’t support the “expansive theory” that

        “standing exists when an organization diverts its resources in response to a defendant’s

                                                     34
USCA4 Appeal: 24-2045      Doc: 64         Filed: 10/29/2024      Pg: 35 of 40




        actions,” id. at 395. Rather, the Court reinforced that, as for an individual plaintiff, an

        organization’s harm must be “concrete,” meaning “real and not abstract,” and

        “particularized,” affecting that organization in “a personal and individual way,” id. at 381

        (cleaned up), to prevent organizations from “roam[ing] the country in search of government

        wrongdoing,” id. at 379 (cleaned up).

               In other words, “Article III standing screens out plaintiffs who might have only a

        general legal, moral, ideological, or policy objection to a particular government action.”

        Id. at 381. An organization couldn’t show standing simply because it “believes that the

        government is acting illegally” or “based only on an asserted right to have the [g]overnment

        act in accordance with law.” Id. (cleaned up). Standing, said the Court, requires more.

               Applying these principles, the Court in Alliance for Hippocratic Medicine rejected

        the medical association-plaintiffs’ arguments that they showed an injury-in-fact. Broadly

        speaking, the pro-life medical associations challenged the lawfulness of the FDA’s

        decision to approve mifepristone, a medication used to, among other things, terminate

        pregnancies, as well as the agency’s later decisions to relax certain requirements around

        the use of mifepristone. Id. at 375–76.

               The organizations asked the Court to enjoin the FDA’s approval of the drug, in

        effect removing it from the market. But because the organizations didn’t “prescribe or use

        mifepristone” and weren’t otherwise required by the FDA’s actions “to do anything or to

        refrain from doing anything,” they had to resort to “several complicated causation theories

        to connect FDA’s actions to [their] alleged injuries in fact.” Id. at 385–86.



                                                     35
USCA4 Appeal: 24-2045         Doc: 64         Filed: 10/29/2024      Pg: 36 of 40




                  The organizations alleged that the FDA’s decisions had “impaired their ability to

        provide services and achieve their organizational missions,” id. at 394 (cleaned up), which

        caused them to “incur[] costs to oppose [defendant’s] actions,” id. They claimed that they

        had to “conduct their own studies . . . [to] better inform their members and the public”

        about mifepristone; they had been “forced” to “expend considerable time, energy, and

        resources” to draft petitions in opposition to the FDA; and they had to “engag[e] in public

        advocacy and public education,” all of which had “caused the associations to spend

        considerable resources to the detriment of other spending priorities.” Id. (cleaned up).

                  The Court, at each turn, was unimpressed.

                  Not mincing words, the Court held that “an organization that has not suffered a

        concrete injury caused by a defendant’s actions cannot spend its way into standing,” nor

        can it “manufacture” standing merely by “expending money to gather information and

        advocate against the defendant’s action.” Id. Endorsing “that theory would mean that all

        organizations in America would have standing to challenge almost every [government]

        policy that they dislike, provided they spend a single dollar opposing those policies.” Id.

        at 395.

                  Instead, the Court summarized the critical standard from Havens Realty: a plaintiff

        must show that a defendant’s “actions directly affected and interfered with [the plaintiff’s]

        core business activities.” Id.

                                                        B.

                  In recent weeks, a trio of district courts confronted with election-related cases have

        embraced what is, in my mind, an appropriately stricter view of organizational standing.

                                                        36
USCA4 Appeal: 24-2045      Doc: 64         Filed: 10/29/2024      Pg: 37 of 40




        See, Republican Nat’l Comm. v. Benson, — F. Supp. 3d —, 2024 WL 4539309, at *10–12

        (W.D. Mich. Oct. 22, 2024); Republican Nat’l Comm. v. Aguilar, No. 2:24-cv-00518, 2024

        WL 4529358, at *6–8 (D. Nev. Oct. 18, 2024); Strong Cmtys. Found. of Ariz. Inc. v. Richer,

        No. CV-24-02030, 2024 WL 4475248, at *8–10 (D. Ariz. Oct. 11, 2024). In each case,

        political groups claimed that (1) they had to divert resources because of some alleged

        failure by the defendant to conform with a voting regulation, or (2) their members would

        be injured because their votes would be diluted, or because they would lose confidence in

        the integrity of elections. And in each case, the court found these injuries wanting.

               In Republican National Committee v. Benson, for example, the court found that the

        RNC’s proffered injuries described “activities in which the RNC normally engages” or

        “only a speculative harm to which resources might be devoted.” 2024 WL 4539309, at

        *11. The court remarked that the “allegations [did] not describe a personal stake in the

        outcome of a controversy as to warrant invocation of federal-court jurisdiction.” Id. at *12;

        see also Richer, 2024 WL 4475248, at *9 (explaining that an organization “must show that

        a challenged governmental action directly injures the organization’s pre-existing core

        activities and does so apart from the plaintiffs’ response to that governmental action”

        (cleaned up)); Aguilar, 2024 WL 4529358, at *7 (“[V]ague allegations of shifting

        resources,” where plaintiff shifted “some resources from one set of pre-existing activities

        in support of their overall mission to another, new set of such activities,” “fail[ed] to




                                                     37
USCA4 Appeal: 24-2045       Doc: 64          Filed: 10/29/2024      Pg: 38 of 40




        provide the court any information regarding what or which resources the organizational

        plaintiffs have needed to shift.” (cleaned up)). 2

               So too did these courts reject general theories of vote dilution or damage to election

        integrity in the associational standing context, as either not particularized or overly

        speculative. For either individual or organization plaintiffs, “the mere fact that some

        invalid ballots have been inadvertently counted, without more, does not suffice to show a

        distinct harm to any group of voters over any other.” Richer, 2024 WL 4475248, at *8

        (emphasis added).

               Rather, this harm “is the type of generalized grievance common to all [of a state’s]

        residents,” which doesn’t affect any one plaintiff “in a personal and individual way.”

        Benson, 2024 WL 4539309, at *9 (cleaned up); see also Aguilar, 2024 WL 4529358, at *4

        (“[An individual]’s fear of vote dilution can be raised by every and any voter in the

        [s]tate.”). The same is true for vague handwaving about election integrity. See Aguilar,

        2024 WL 4529358, at *5 (“[A plaintiff]’s undermined confidence in the integrity of [a

        state’s] elections is not an injury that is distinct from that of any other registered voter.”).

               And as one district court explained, the harm is also speculative, “requir[ing] three

        uncertain intervening events: (1) an ineligible voter must be afforded the opportunity to



               2
                  Cf. Republican Nat’l Comm. v. Wetzel, — F. Supp. 3d —, 2024 WL 3559623, at
        *5 (S.D. Miss. July 28, 2024) (finding standing based on several detailed declarations and
        affidavits where plaintiff-organizations described injuries that were “specific to each party”
        and not based on routine activities, so that those plaintiffs had “a direct stake in the outcome
        of this lawsuit”), rev’d on other grounds, No. 24-60395, 2024 WL 4579307 (5th Cir. Oct.
        25, 2024).

                                                       38
USCA4 Appeal: 24-2045       Doc: 64         Filed: 10/29/2024      Pg: 39 of 40




        commit fraud; (2) the ineligible voter will in fact commit fraud; and (3) the fraud will not

        be prevented.” Id. (disagreeing with Green v. Bell, No. 3:21-cv-00493, 2023 WL 2572210

        (W.D.N.C. Mar. 20, 2023)). Indeed, “[c]ourts have widely concluded that an alleged injury

        related to a lack of confidence in a voting system is too speculative to establish an injury

        in fact, and therefore standing.” Id. at *6 (cleaned up) (citing cases).

                                                     C.

               Given this new legal landscape, the plaintiffs’ toes are just over the finish line for

        organizational standing, but they’re stuck at the starting gate for associational standing.

               The plaintiffs plead that they have organizational standing because the defendants’

        “actions and inaction directly impact [their] core organizational missions of election

        security and providing services aimed at promoting Republican voter engagement and

        electing Republican candidates for office.” J.A. 26 ¶ 15 (emphasis added). They claim

        that they’ve had “to divert significantly more of their resources into combatting election

        fraud in North Carolina,” so their “organizational and voter outreach efforts”—which, for

        the RNC, are on a national scale—“have been and will continue to be significantly stymied

        due to [d]efendants’ ongoing failures.” J.A. 26 ¶ 15. “As a result,” allege plaintiffs, they

        “will have no choice but to expend increased amounts of time and money, beyond what

        they would have already spent, in order to combat this unwarranted interference with their

        central activities,” such as “monitoring North Carolina’s voter rolls, voter activity, and

        responding to instances of potential voter fraud in upcoming elections.” J.A. 26 ¶ 15.

               Some of these allegations are the sort of vague and attenuated grievances that (as

        some district courts have found) no longer cut it to show standing. But the plaintiffs have

                                                     39
USCA4 Appeal: 24-2045       Doc: 64          Filed: 10/29/2024      Pg: 40 of 40




        at least alleged—however improbably—that the defendants’ actions and inactions have

        impaired their core business activities.

               Even so, the plaintiffs’ showing for associational standing falls woefully short. The

        plaintiffs allege that their “members are harmed by . . . inaccurate voter rolls,” so that their

        “members’ votes are undoubtedly diluted due to ineligible voters participating in

        elections.” J.A. 26–27 ¶ 16. And (they allege) “these members’ rights to participate in a

        fair and secure electoral process, free from voter fraud, will be significantly hindered.”

        J.A. 27 ¶ 16. But under Supreme Court and our precedent, a plaintiff’s harm must be

        concrete, it must be imminent, and it must be particularized. 3 The plaintiffs’ voter dilution

        claim is not: it reaches every North Carolina voter, even if they’re not the plaintiffs’

        preferred ones. 4

                                                      II.

               As if repeating family lore, the Supreme Court in Alliance for Hippocratic Medicine

        quoted Justice Scalia’s first question for a plaintiff trying to open the federal court doors:

        “What’s it to you?” 602 U.S. at 379. For these plaintiffs, on these facts (and perhaps

        against their best wishes), the answer is: “Barely enough.”



               3
                 That’s not to say that individual voters wouldn’t have standing to challenge some
        actions that affect a large number of voters. For example, individual voters that have been
        removed from the voter rolls or are at risk of being removed from the voter rolls could,
        with appropriate pleading, state an injury-in-fact stemming from election officials’ actions.
        E.g., Va. Coal. for Immigrant Rts. v. Beals, No. 24-2071 (4th Cir. Oct. 27, 2024).
               4
                 In other voting contexts, such as gerrymandering, a theory of vote dilution may be
        sufficient to support standing. See Rucho v. Common Cause, 588 U.S. 684, 693 (2019).

                                                      40
